    Case 19-16737-amc           Doc 52 Filed 05/23/22 Entered 05/23/22 09:35:37                     Desc Notice
                                   of Objection to Dischar Page 1 of 1
                             UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re: Tamara C. Miller
               Debtor(s)                                  Case No: 19−16737−amc
                                                          Chapter: 13
_____________________________________________________________________________________________

                             NOTICE OF DEADLINE TO OBJECT TO DISCHARGE

      To all creditors and parties in interest, NOTICE IS GIVEN THAT:


      The Standing Chapter 13 Trustee has indicated that all plan payments have been made.
       Any objection to the entry of the Debtor(s)' Order of Discharge or request to delay the entry of discharge
pursuant to 11 U.S.C. § l 328(h), must be filed in writing within 14 days from the date of this Notice with the Clerk
of the U.S. Bankruptcy Court.
       All objections must be filed with the Clerk at the following address:

                                                 900 Market Street
                                                      Suite 400
                                               Philadelphia, PA 19107

      In the absence of any objection, the Court may enter the Order of Discharge.


For The Court

Timothy B. McGrath
Clerk of Court
Dated: 5/23/22




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                                                                                                             Form 138OBJ
